Case 2:01-Cr-20141-BBD Document 93 Filed 05/11/05 Page 1 of 2 Page|D 115
UNITED STATES DISTRICT COURT w n
WESTERN DISTRICT oF TENNESSEE W,E_B W/ »

 

   

 

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UNITED STATES OF AMERICA l
VI No. 2101CR20141-0\{1'~ -
OBRY L. REED DEFENDANT
ORDER

 

Upon Motion of the United States and for good cause shown, the government’s motion to
continue the revocation hearing is granted

The hearing is rescheduled to ':SLM\@ 3 0 , 2005 at /-`\go a-.-m./p.m.

 

IT IS So oRDERED this ;/ ""‘ day ofMay, 2005.

   

RNICE D ALD
TED STATES DISTRICT JUDGE
WESTERN DISTRICT OF TENNESSEE

Submitted by:

JANA K. HARRIS

Assistant U. S. Attorney
Special Attorney

 

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Honorable Bernice Donald
US DISTRICT COURT

